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                                      ORDERED.
  Dated: August 04, 2022




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FT. MYERS DIVISION


IN RE:                                                  Case No.: 2:22-bk-00433-FMD
KEVIN LAWRENCE PRENTICE                                 Chapter 7
aka Kevin Prentice
aka Kevin L. Prentice
FATOU NDIAYE PRENTICE
aka Fatou Prentice
                Debtor(s).                     /


                        AGREED ORDER GRANTING MOTION FOR
                         RELIEF FROM AUTOMATIC STAY [D.E. 9]

         This cause is before the Court upon the Motion for Relief from Automatic Stay [D.E. 9]

filed by Creditor, NewRez LLC d/b/a Shellpoint Mortgage Servicing, hereinafter referred to as

“Movant”, and Trustee’s Response filed June 27, 2022 and Joinder Response filed by Ruth

Meinhart and Thomas Meinhart’s on June 27, 2022. By submission of this order for entry, the

submitting counsel represents that the opposing party consents to its entry. The Court has

considered the Motion, Secured Creditor and the Debtor having agreed to the following terms

and this Court being otherwise fully advised, it is

         ORDERED:

   1. The Motion for Relief from the Automatic Stay is GRANTED.
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   2. The automatic stay imposed by 11 U.S.C. §362 is lifted as to Movant, and it may proceed

       with the enforcement of its security interest upon the following property:

       REAL PROPERTY AT 55 FAIRVIEW ROAD, KINGWOOD TOWNSHIP, NEW
       JERSEY 08825, AND MORE ACCURATELY DESCRIBED BY ITS LEGAL
       DESCRIPTION WHICH IS:




   3. This order is entered for the sole purpose of allowing Movant to obtain an in rem

       judgment against the property and Movant shall not seek an in personam judgment

       against the Debtors.

   4. This Order shall survive any conversion in the instant case.

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Attorney Seth J. Greenhill is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of
this order.


Order Prepared By:
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